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12
                                UNITED STATES DISTRICT COURT
13
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                      WESTERN DIVISION
15
       UNITED STATES OF AMERICA,               Case No. 2:21-cv-06966-RGK-MAR
16
                  Plaintiff,                   JOINT RULE 26 REPORT
17
                       v.                      Sch. Conf. Date: March 7, 2022
18                                             Time:            9:00 a.m.
       $399,000.00 IN U.S. CURRENCY AND
19     MISCELLANEOUS ITEMS OF JEWELRY,

20                Defendants.

21
       DERRICK POLK,
22
                  Claimant.
23

24

25          Pursuant to Federal Rules of Civil Procedure 16 and 26(f),
26     counsel for plaintiff United States of America (“the government”) and
27     claimant Derrick Polk (“claimant”) hereby report as follows.           The
28     Scheduling Conference is set for March 7, 2022 at 9:00 a.m.
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1           A.     Statement of the Case

2           The government has filed an in rem civil forfeiture case against

3      the defendants alleging that the defendants are subject to forfeiture

4      pursuant to 21 U.S.C. § 881(a)(6) and 18 U.S.C. § 981(a)(1)(A) and

5      (C) on grounds that they represent proceeds of or were used to

6      facilitate narcotic trafficking or were involved in money laundering

7      transactions.    The complaint alleges that the funds were seized from

8      a box at US Private Vaults on or about March 20, 2021, and that the

9      government seized the jewelry during the execution of a federal
10     search warrant at claimant’s residence on or about July 15, 2021.
11     Claimant has filed a claim to the defendants and an answer to the
12     complaint, and claimant denies that the defendants are subject to
13     forfeiture.
14          B.    Discovery Limits and Discovery Planning, Rule 26(f)(1)-
15                26(f)(4)

16          The government has filed a motion to stay this action, pursuant

17     to the 18 U.S.C. § 981(g)(1)’s mandatory stay provision on the ground

18     that discovery in this case will adversely affect the ability of the
       government to conduct a related criminal investigation against
19
       claimant, which motion has been taken under submission.          Subject to
20
       that caveat and the impact that a stay will have on this case, the
21
       parties note they do not feel it necessary to change the timing, form
22
       or requirement for disclosures under Fed. R. Civ. P. 26(a).            Pursuant
23
       to Fed. R. Civ. P. 26(a)(1)(B)(ii), this civil forfeiture case is
24
       exempt from the Fed. R. Civ. P. 26(a)(1) initial disclosure
25
       requirements.    The subjects on which discovery may be needed are
26
       whether the defendant currency is subject to forfeiture.          In
27
       addition, the parties are not aware of any issues about
28     electronically stored information, claims of privilege or of claims

                                              2
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1      regarding the need to protect particular items as trial-preparation
2      materials.    Both parties intend to proceed with discovery, which may

3      include interrogatories, document request and depositions, as

4      warranted in this case.

5           C.     Proposed Law and Motion Matters

6           The government’s motion to stay this case, as mentioned above,

7      has been taken under submission.       Subject to that caveat, and

8      depending upon the evidence, the government and claimant may file

9      motions for summary judgment and claimant may file a suppression

10     motion and a motion to dismiss.

11          D.     Principal Issues In The Case

12          The principal issues in this case is whether the defendant

13     currency is subject to forfeiture and whether claimant has any

14     defenses to forfeiture.     A second principal issue in the case is

15     whether the evidence obtained by the government through the search of

16     safety deposit box should be suppressed.

17          E.     Proposed Schedule Of Pretrial Dates

18          The parties suggest the following pretrial dates:

19                 A last day to amend the complaint or add parties of April

20     11, 2022.

21                 A discovery cutoff date of September 6, 2022.

22                 A motion hearing cutoff date (last date to file) of

23          September 20, 2022.

24                 A pretrial conference date of October 18, 2022.

25                 A jury trial date on Tuesday, November 2, 2022.

26     The parties estimate that the trial of this matter will take 3-4

27     court days.

28          F.     Settlement


                                              3
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1           The parties are amenable to engaging in settlement negotiations

2      as this case progresses.      The parties propose that this case be

3      referred to the Magistrate Judge assigned to this case, for purposes

4      of settlement.

5           G.    Likelihood Of Appearance Of Additional Parties

6           Neither the government nor claimant anticipate the appearance of

7      additional parties.

8           H.    Complex Case

9           The parties agree that this case is not sufficiently complex as
10     to require the utilization of the Manual for Complex Litigation.
11          I.    Other Issues

12          None.

13                                       Respectfully submitted,
14     Dated: February 23, 2022          TRACY L. WILKISON
                                         United States Attorney
15                                       SCOTT M. GARRINGER
                                         Assistant United States Attorney
16                                       Chief, Criminal Division
                                         JONATHAN GALATZAN
17                                       Assistant United States Attorney
                                         Chief, Asset Forfeiture Section
18

19                                        /s/ Victor A. Rodgers            _
                                         VICTOR A. RODGERS
20                                       MAXWELL COLL
                                         Assistant United States Attorneys
21                                       Asset Forfeiture Section

22                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
23

24     Dated: February 23, 2022          THE FREEDMAN FIRM PC

25
                                           /s/ Michael G. Freedman             _
26                                       MICHAEL G. FREEDMAN

27                                       Attorneys for Claimant
                                         DERRICK POLK
28

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